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 Dated: October 27, 2017                                                  Nancy Hershey Lord
        Brooklyn, New York                                           United States Bankruptcy Judge
